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                EXHIBIT 31
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  Reardon, Steve

  From:                    Reardon, Steve
  Sent:                    Friday, January 27, 2006 12:01 PM
  To:                      'Deborah .Y.Butcher@usdoj.gov'
  Subject:                 RKR Holdings , Inc



  Deborah.

  Please be advised that we have stopped shipping controlled substances to RKR HOLDINGS INC, DBA MEDICHEM RX,
  DEA BR9174878 .

  Steve



  Stephen J . Reardon
  Vice President
  Quality & Regulatory Affairs
  Cardinal Health
  7000 Cardinal Place
  Dublin, Ohio 43017
  Tel    614-757-7101
  Fax    614-652-4264
  Cell   614-668-2044
  steve.reardon@cardinal.com




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          Case: 1:17-md-02804-DAP Doc #: 2373-6 Filed: 08/14/19 3 of 3. PageID #: 387826


  Reardon, Steve
  From:                     Reardon, Steve
  Sent:                     Monday, January 09, 2006 10:06 AM
  To:                       'Deborah.Y.Butcher@usdoj.gov'
  Subject:                  Medipharm-Rx


  Deborah,

  As a follow up our telephone conversation, please be advised that we visited Medipharm-Rx on December 13, 2005 and
  that controlled substance sales to the account were stopped on January 3, 2006.

  Steve

  Stephen J. Reardon
  Vice President
  Quality & Regulatory Affairs
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  Dublin , Ohio 43017
  Tel     614-757-7101
  Fax     614-652-4264
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